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16
17                                UNITED STATES DISTRICT COURT
18                               CENTRAL DISTRICT OF CALIFORNIA

19    HELEINE TCHAYOU, ISAAC                        Case No.: 16-cv-06073-TJH-MRW
20    ~~*~¥Era~NtllyU[~m~G,
      KEUNANG Q1: and through LINE                  [Assigned to the Honorable Terry J. Hatter,
21    MARQUISE FOMlNG, as Administrator,            Jr. - Courtroom 9B]
22                      Plaintiffs,
                                                    JOINT STATUS REPORT RE
23                          v.                      SETTLEMENT
24    CITY OF LOS ANGELES, CHAND
      SYED, FRANCISCO MARTINEZ,                     Complaint filed:         August 12, 2016
25    DANIEL TORRES, JOSlIDA VOLASGIS,              K1~tio~<S~<f..~ff:       September 22, 2017
                                                                             November 22, 2017
26                Defendants.                       Trial Date:              May 1,2018

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       JOINT STATUS REPORT RE
       SETTLEMENT
     Case 2:16-cv-06073-TJH-MRW Document 243 Filed 09/28/18 Page 2 of 3 Page ID #:10341



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       JOINT STATUS REPORT RE
       SETTLEMENT
 Case 2:16-cv-06073-TJH-MRW Document 243 Filed 09/28/18 Page 3 of 3 Page ID #:10342



 1   TO THE HONORABLE COURT:
 2         Plaintiffs HELEINE TCHAYOU, ISAAC KEUNANG, LINE MARQUISE
 3   FOMING, and ESTATE OF CHARL Y LEUNDEU KEUNANG, by and through LINE
 4   MARQUISE FOMING, as Administrator, and Defendants CITY OF LOS ANGELES,
 5   FRANCISCO MARTINEZ, CHAND SYED, DANIEL TORRES, and JOSHUA
 6   VOLASGIS, hereby provide the following status report.
 7         The settlement in this case has been approved by the Los Angeles City Council.
 8   Defendants requested that Plaintiffs and their counsel sign a formal settlement agreement
 9   before the settlement funds are conveyed. The Parties met and conferred and agreed on
10   the final language in the settlement agreement and Plaintiffs' counsel anticipates being
11   able to obtain all of the required signatures on this document next week. The Parties
12   anticipate the settlement funds being conveyed in connection with the execution of the
13   settlement agreement and dismissal of the individual officer Defendants.
14
15   Dated: September 28, 2018       Respectfully Submitted,
16                                   HADSELL STORMER & RENICK LLP
17                                      /s/- Joshua Piovia-Scott
                                     By:-----------
                                         Joshua Piovia-Scott
18                                       Attorneys for Plaintiffs
19
     Dated: September 28, 2018
20                                                                                ,/



21
22                                         omeys for Defendants CITY
23                                   al.
24
     Dated: September 28, 2018       JONES & MAYER
25                                           /s/- James R. Touchstone
                                     By:----------­
26                                         JAMES R. TOUCHSTONE, ESQ.
                                           DENISE L. ROCAWICH, ESQ.
27                                   Attorney for Defendant JOSHUA VOLASGIS
28
     JOINT STATUS REPORT RE                   -1-
     SETTLEMENT
